         Case 2:19-cr-00417-JHS Document 18 Filed 11/07/19 Page 1 of 6



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                 :
                                         :
                                         :
             v.                          :     CRIMINAL NUMBERS: 18-26-01
                                         :                       19-417-01
                                         :
JUSTIN DAVID MAY                         :



                                       ORDER

      AND NOW, this         day of                , 2019, upon consideration of the Motion

for Release Prior to Sentencing, it is hereby ORDERED that said Motion is GRANTED.




                                  BY THE COURT:



                                  _________________________________________
                                  THE HONORABLE JOEL H. SLOMSKY
                                  Senior United States District Court Judge
             Case 2:19-cr-00417-JHS Document 18 Filed 11/07/19 Page 2 of 6



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                         :
                                                 :
                                                 :
                v.                               :       CRIMINAL NUMBERS: 18-26-01
                                                 :                         19-417-01
                                                 :
JUSTIN DAVID MAY                                 :


                                 DEFENDANT’S MOTION
                           FOR RELEASE PRIOR TO SENTENCING

        Justin David May, by his counsel undersigned, respectfully requests that the Court

continue the trial. In support of this request, it is stated:

        1.      On or about January 25, 2018, Justin David May was charged by way of

indictment with 24 counts of mail fraud and aiding and abetting, in violation of 18 U.S.C. §1341,

3559 (g); 16 counts of money laundering, in violation of 18 U.S.C. §1956(a)(1)(B)(i); 3 counts

of interstate transportation of stolen goods, in violation of 18 U.S.C. §2314 and 3559(g)(1); and

2 counts of tax evasion, in violation of 26 U.S.C. §7201.

        2.      On or about September 6, 2018, Mr. May pled guilty to these offenses pursuant to

a guilty plea agreement and he remained free on pre-trial release pursuant to conditions.

        3.      On or about July 19, 2019, Mr. May was arrested on new charges.

        4.      As a result of the new offenses, Mr. May was detained and remains in custody.

        5.      On or about September 12, 2019, Mr. May pled guilty to the new offenses before

this Court and sentencing is presently scheduled for January 10, 2020.

        6.      A defendant’s release pending sentence is governed by the Bail Reform Act. See

18 U.S.C. § 3143(a)(1); Fed.R.Crim.P. 46(c). In general, the court must release a defendant
            Case 2:19-cr-00417-JHS Document 18 Filed 11/07/19 Page 3 of 6



pending sentence if the court finds “by clear and convincing evidence that the person is not likely

to flee or pose a danger to the safety of any other person or the community if released under

section 3142(b) or (c).” 18 U.S.C. § 3143(a)(1).

       7.      Mr. May suffers from several psychological disorders including Attention Deficit

Hyperactivity Disorder and Autism.

       8.      Prior to his incarceration Mr. May was being treated by Dr. Norman Broudy, MD.

and was prescribed Vyanse to help control his mood and assist him with functioning and

completing his activities of daily living.

       9.      Mr. May is no longer receiving his medication and he is experiencing difficulty

focusing, sleeping, and functioning in the Federal Detention Center.

       10.     Prior to his incarceration, Mr. May was living alone at 3102 Albemarle Road,

Wilmington, DE.

       11.     If this Court were to order Mr. May to be released on electronic monitoring, he

would be able to reside with his mother, Susan Stanton, at 307 Stanley Plaza Boulevard, Newark,

DE 19713.

       12.     Mr. May’s family is willing to post collateral in the form of a property located at

217 Florence Avenue, Wilmington, DE 19803.

       13.     In view of the above, there are conditions that could be set that will reasonably

assure Mr. May’s appearance at trial and the safety of the community under section 3142(c).

       WHEREFORE, for the foregoing reasons, the defense respectfully requests that,

pending sentencing in this matter, Mr. May be released on house arrest with the following

conditions.




                                                 2
Case 2:19-cr-00417-JHS Document 18 Filed 11/07/19 Page 4 of 6



   •   House Arrest with Electronic Monitoring at 307 Stanley Blvd., Newark, DE;

       and

   •   He will re-engage and continue with mental health treatment with Dr. Norman

       Broudy



                                       Respectfully submitted,



                                       /s/ Natasha Taylor-Smith
                                       NATASHA TAYLOR-SMITH
                                       Assistant Federal Defender




                                   3
           Case 2:19-cr-00417-JHS Document 18 Filed 11/07/19 Page 5 of 6



                                CERTIFICATE OF SERVICE


         I, Natasha Taylor-Smith, Assistant Federal Defender, Federal Community Defender

Office for the Eastern District of Pennsylvania, hereby certify that I have served a copy of

Defendant’s Motion for Release Prior to Sentencing electronically through Eastern District

Clerk’s Office Electronic Case Filing upon Michael Lowe, Assistant United States Attorney,

Suite 1250 - United States Attorney’s Office, 615 Chestnut Street, Philadelphia, Pennsylvania

19106.




                                                     /s/ Natasha Taylor-Smith
                                                     NATASHA TAYLOR-SMITH
                                                     Assistant Federal Defender


DATE:           November 7, 2019
            Case 2:19-cr-00417-JHS Document 18 Filed 11/07/19 Page 6 of 6




                FEDERAL COMMUNITY DEFENDER OFFICE
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
             FEDERAL COURT DIVISION - DEFENDER ASSOCIATION OF PHILADELPHIA

                             SUITE 540 WEST -- THE CURTIS
                                 601 WALNUT STREET
                               PHILADELPHIA, PA 19106

  LEIGH M. SKIPPER               PHONE NUMBER     (215) 928-1100          HELEN A. MARINO
CHIEF FEDERAL DEFENDER           FAX NUMBER       (215) 928-1112        FIRST ASSISTANT FEDERAL
                                 FAX NUMBER       (215) 928-0822               DEFENDER
                                 FAX NUMBER       (215) 861-3159



                                                     November 7, 2019

The Honorable Joel H. Slomsky
United States District Court Judge
Room 13614 - United States Courthouse
601 Market Street
Philadelphia, PA 19106

       RE:     United States v. Justin David May
               Criminal Numbers 18-26-01, 19-417-01

Dear Senior Judge Slomsky:

       Enclosed please find two courtesy copies of the Defendant Justin David May’s Motion
for Release Prior to Sentencing. This motion was electronically filed on November 7, 2019.


                                                     Respectfully,



                                                     NATASHA TAYLOR-SMITH
                                                     Assistant Federal Defender

NTS/te
Enclosure

cc: Michael Lowe, Assistant United States Attorney




                                              5
